Case 1:02-cV-01205-.]DB-tmp Document 130 Filed 07/01/05 Page 1 of 5 Page|D 168

 

IN THE UNITED STATES DlsTRICT CoURT 51, ,,,, " ~~ 5:_”)
FoR THE WESTERN DIsTRICT oF TENNESSEE “/ p,,,, n
EASTERN DIVISION s " ‘
TORR] WILLIAMS, er al.,
Plaintiffs,
v. NO: 1-02-1205-JDB-tmp

CORRECTIONS CORPORATION OF
AMERICA, et al.,

\_,/\¢_/\¢_/\_/\_/\_/\-/\_/\_/

Defendants.

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, With full prejudice, the
Court therefore finds that this cause should be dismissed, With full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Det`endants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Ine., Correctional
Managernent Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, lnc., With prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, Will be paid by Plaintiff and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, Will be applied for or awarded by
either party.

This document entered on the docket sheet in compliance
With Flule 58 and,'or_?Q (a) FF!CP on ' '

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t flsa
Dated: this / dayof 7 ,2005.

J. DANIEL BREEN
NIT 11) sTATEs DISTRICT JUI)GE

APPROVED FOR ENTRY:

aaa Ma»~» /M”

 

 

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CERTIFICATE 'OF sERvICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1 126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 on June Zi, 2005.

PENTECOST, GLENN & RUDD, PLLC

Jame§ 1. Pentecost (#011640)
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Notice of Distribution

This notice confirms a copy of the document docketed as number 130 in
case 1:02-CV-01205 Was distributed by faX, mail, or direct printing on
.1 uly 5, 2005 to the parties listed.

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Honorable .l. Breen
US DISTRICT COURT

